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                                   STATEMENT OF FACTS

        Your affiant, William C. Borromeo, is employed as a Special Agent by the Federal Bureau
of Investigation (“FBI”). Specifically, I am assigned to the San Antonio Division, Joint Terrorism
Task Force, where I am currently tasked with investigating criminal activity in and around the
United States Capitol grounds. As a Special Agent, I am authorized by law or by a government
agency to engage in or supervise the prevention, detention, investigation, or prosecution of
violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly around
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         Tipsters provided information identifying Bradley Stuart Bennett (Bennett) as a participant
in the U.S. Capitol Riot on January 6. The first tipster (Tipster 1) became aware of Bennett when
researching people connected to QAnon and became interested in Bennett because the content of
his posts was more combative than others’ QAnon posts. Tipster 1 does not personally know
Bennett but had been routinely looking at Bennett’s social media posts in the months leading up
to January 6, 2021. Prior to the Riot, Tipster 1 saw Bennett make numerous posts encouraging
people to gather and attend events in Washington, D.C. on January 6, 2021. Bennett also posted
that he would be present. Tipster 1 further observed that Bennett appeared to have deleted most
or all of the posts he made about the Riot within 24 hours of the event.

       A second tipster (Tipster 2) identified Bennett while scrolling through photos released from
the Capitol the weekend after the Riot. Tipster 2 knows Bennett from childhood and indicated that
he posts frequently about QAnon conspiracy theories on his Facebook page and his Parler account
@battleBornLive.

       Video and photographs submitted to the FBI by other tipsters also show Elizabeth Rose
Williams inside the Capitol Crypt, as discussed more below. Tipster 2 identified Williams as a
possible significant other of Bennett. Your Affiant has conducted a review of social media
accounts, open source databases, driver’s license information, and confirmed that Williams is
Bennett’s significant other.

        A third tipster (Tipster 3) also viewed a video and a post on Bennett’s Facebook page
showing that Bennett was inside the Capitol during the January 6, 2021, breach. Tipster 3 was on
a friend’s Facebook page when he/she saw a post from Bennett and decided to examine Bennett’s
Facebook page. There, Tipster 3 observed that Bennett had posted a video of himself inside the
U.S. Capitol, referenced “patriots [going] to war,” and indicated that he had stormed the U.S.
Capitol. Tipster 3 only knows Bennett from a conference a couple of years ago, where Bennett
spoke.
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Facebook post screenshots provided by Tipster 3

       Tipster 3 also provided the following Facebook post that Tipster 3 observed on Bradley
Bennett’s Facebook page on January 6. Both Bennett and Williams are present outside of the U.S.
Capitol, which is visible in the background:
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        A fourth tipster (Tipster 4) provided a link to a Twitter page which included three videos
posted on January 13, 2021, under the title “IDENTIFIED: Brad Bennet.” The videos appeared to
have been copied from Bennett’s Facebook page and show Bennett and Williams entering the U.S.
Capitol, in the Capitol Crypt, and in the gallery of the Senate Chamber. It was unknown what
Tipster 4’s relationship to Bennett was as the tip was made anonymously.
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Still shots from Facebook videos provided by Tipster 4 depicting Bradley Bennett




Still shot from Facebook video provided by Tipster 4 showing Williams inside the U.S. Capitol

        The social media identifiers provided by the tipsters match current social media accounts
reviewed by the FBI. Your Affiant reviewed photographs on social media accounts of Bennett and
Williams and is of the opinion that they are the same individuals depicted in the video, which
Tipster 4 directed the FBI to view, showing them inside the U.S. Capitol.




                    Source: Twitter Profile (believed to be used by Bennett)

        Law enforcement showed a Cooperating Individual (CI) the video and photos posted by
Bennett on Facebook (no names shown). Your affiant has consulted with local law enforcement
and is unaware of any statements or evidence that would tend to undermine the credibility of the
CI. The CI is not being paid nor is he/she working off charges related to a criminal prosecution.
Rather, the CI is merely providing information to law enforcement. The CI requested his/her
identity be protected to the extent possible, but he/she is willing to testify. The CI has known
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Williams for approximately 18 months and Bennett for approximately four months. The CI stated
that he/she is very familiar with Bennett and Williams through community functions. When shown
a photo of the female in the still shots, the CI immediately stated, “That’s Rosie,” explaining the
CI calls her “Rosie” but that her full name is Elizabeth Rose Williams. When shown a still shot of
the male in the video, the CI immediately stated, “That’s Bradley Bennett.” The CI stated Bennett
is dating Williams. The CI stated, “100% it’s Bradley and Rose” referring to the two individuals
in the video. The CI recognized their appearances and the sounds of their voices in the video and
still photos.

       The CI also provided screenshots of a text message and photo received from Bennett on
January 6, 2021, along with screenshots of their phone numbers. The CI had Williams listed in
CI’s phone as “Elizabeth Rose” with phone number ***-***-7495, and Bennett listed as “Brad
Bennett” with phone number ***-***-2167. The text message Bennett sent the CI on January 6,
depicted below, further corroborates Bennett’s presence in the Capitol:




The photo that Bennett sent the CI that same day shows Williams sitting in front the Lincoln
Memorial in Washington, D.C., wearing a black coat, white gloves, a red knit hat, with a blonde
braid down the left side of her face. The red knit hat, black coat, and braid are the same clothing
items Williams is seen wearing inside the U.S. Capitol in the Facebook video:
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        Another Government Witness, a Texas Department of Public Safety (DPS) Driver’s
License examiner whose duties include verification of identities from photos and conducting both
written and practical driving tests, was interviewed by FBI San Antonio Division the same day
Bennett, accompanied by Williams, applied in person for a Texas Driver’s license. This
Government Witness confirmed Bennett’s identity pursuant to his driver’s license application and
Williams’ identity as the registered owner of the vehicle Bennett used for his practical driving
exam. The Government Witness was shown the same video and still photos of Bennett and
Williams inside of the U.S. Capitol building as the CI. The Government Witness identified Bennett
with 100% certainty and Williams with 85% certainty. The Government Witness stated the lower
certainty regarding Williams was because the video and still photos looked exactly like Williams’
driver’s license photo but less like Williams in person. The Government Witness stated that during
his/her interaction with Bennett, he was wearing the same cap he’s wearing in the video and still
photos from the U.S. Capitol Riot.

        The following two images show Bennett and Williams inside the U.S. Capitol building.
The FBI received these images from the public. Your affiant has compared the two images to the
images and video clips provided by tipsters discussed in this Statement. The images of Bennett
and Williams are consistent. In the images below, Williams is no longer wearing the red hat and
the sleeves of her black top are seen to be extended, with a thumb hole to act as fingerless gloves.
The images with Bennett and Williams encircled are below:
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        United States Capitol Police security cameras captured images of Bennett and Williams
inside the U.S. Capitol building on January 6, 2021, during the Capitol Riot. Below are stills from
the security cameras with Bennett and Williams encircled:




       Based on the foregoing, your affiant submits that there is probable cause to believe that
Bennett and Williams violated 18 U.S.C. § 1752(a)(1), and (2), which makes it a crime to (1)
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knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions. For purposes of Section
1752 of Title 18, a “restricted building” includes a posted, cordoned off, or otherwise restricted
area of a building or grounds where the President or other person protected by the Secret Service,
including the Vice President, is or will be temporarily visiting; or any building or grounds so
restricted in conjunction with an event designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that Bennett and Williams
violated 40 U.S.C. § 5104(e)(2)(D) and § 5104(e)(2)(G), which makes it a crime to willfully and
knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive
conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,
disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the
orderly conduct in that building of a hearing before, or any deliberations of, a committee of
Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol
Buildings.

        Your affiant submits there is also probable cause to believe that Bennett violated 40 U.S.C.
§ 5104(e)(2)(B), which makes it a crime to willfully and knowingly enter or remain in the gallery
of either House of Congress in violation of rules governing admission to the gallery adopted by
that House or pursuant to an authorization given by that House.

       Finally, your affiant submits there is probable cause to believe that Bennett violated 18
U.S.C. § 1512(c)(2), which makes it a crime to corruptly obstruct, influence, or impede any official
proceeding, or attempt to do so. Under 18 U.S.C. § 1515, congressional proceedings are official
proceedings.


                                                     _________________________________
                                                     Special Agent William C. Borromeo
                                                     Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 19th day of March, 2021.                                 2021.03.19
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                                                     ___________________________________
                                                     Robin M. Meriweather
                                                     U.S. MAGISTRATE JUDGE
